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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
         v.
                                               Civil Action No. 1:19-cv-02232-TJK
 DEUTSCHE TELEKOM AG, et al.,

                       Defendants.




   [PROPOSED] ORDER GRANTING CONSENT TO MODIFY FINAL JUDGMENT

       Having considered the Consent Motion to Modify Final Judgment (“Consent Motion”)

filed by Plaintiff United States, Defendants T-Mobile US, Inc. (“T-Mobile”), Defendants T-

Mobile USA, Inc. (“T-Mobile”), Deutsche Telkom AG (“Deutsche Telekom”) and Defendant

DISH Network Corporation (“DISH”), and with no party to this action opposing the requested

relief, the Court hereby GRANTS the Consent Motion and ORDERS as follows:

   1. The Court approves the Proposed Amended Final Judgment attached as Exhibit 1 to the

       Consent Motion and directs the clerk to enter it as an Order of the Court;

   2. Defendant DISH Network Corporation’s Opposed Motion for Relief from Judgment (Dk.

       94) is DENIED AS MOOT; and

   3. The request for relief in the United States’ Response to Defendant DISH Network

       Corporation’s Opposed Motion for Relief from Judgment (Dk. 132) is DENIED AS

       MOOT.
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      IT IS SO ORDERED.


                                    _____________________________________
Date: _________, 2023               The Honorable Timothy J. Kelly
                                    United States District Judge
